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IN THE UNITED STATES DISTRICT CoURT

 

DISTRICT OF UTAH
MEZ PRODUCTIONS, INC., Civil Action No. 2:17-cv-00663-EJF
Plaintiff, Magistrate Judge Eveiyn J. Furse
Vs.
STIPULATED CONSENT JUDGMENT

DOES 1-26, Re: Doe 18 - 174.27.133.167

Defendants.

 

 

As attested to by the signatures of counsel for the parties below, this matter comes before
the Court on the parties’ joint stipulation

Plaintift` MEZ Productions, lnc. has filed a Compiaint against the defendant Doe 18 -
174.27.133.167 (of Does 1-26), in the Uta.h Distn'ct Court for copyright infringement, 17 U.S.C.
§§101, et seq, registered with the United States Copyright Office, Reg. No. PA 1-998-057.

After initial discovery and investigation, the lnternet service subscriber Doe 18 -
174.27.1_33.167 Was identified as the defendant in this matter and is now identified as a Utah
resident who Wishes to remain anonymous but who is represented by counsel identified below.

Plaintiff consents to proceed through counsel.

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Doe 18 - l74.27.l$3.l67 consents to personal jurisdiction of this court including
permitting Magistrate ludge Evelyn J. Furse to conduct ali matters related to this matter
including entry of this consent judgment

The parties, after conferral and investigation, now appear to fully and finally resolve ail
claims between the parties and the matters before the Conrt and seek entry of this Stipulated

Consent Judgrnent to effect the terms of their settlement

Identity of the Defendant
The responsible defendant identified herein as Doe 18 - 174.27.133.167 has been
positively identified as a resident of Utah whose identity will be made known under seal if

required by the court

WHEREFORE i'l` IS HEREBY STIPULATED, ORDERED AND ADJUDGED for all
matters relevant to this case between the parties as follows:

1. 'l`his court has jurisdiction over the parties and venue is proper.

2. Plaintiff MEZ Prodnctions, lnc. has valid and enforceable copyrights in the original
copyrighted work, Mechanic: Resuz'rectz`on, (“Motion Picture”) registered with the
United States Copyright Office, Reg. No. PA 1-998-05'/'.

3. Det`endant was properly identified as the lnternet service subscriber Doe 18 -
174.27.133.167 in this case.

4. Doe 18 - 174.27.133.167 expressly consents to have United States Magistrate Judge
Evelyn J. Furse conduct any and all proceedings in this case, including entry of any and

all orders including this stipulation or any other final judgment or orders arising

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therefrom.

5. Doe 18 - 174‘27.133. 167 has had full opportunity to consult counsel and has nllly
reviewed the Complaint and the allegations of the Complaint.

6. In addition to other terms in a separate settlement agreement the parties further agree and
require pursuant to the settlement that the below Permanent injunction be entered against

Doe 18 »174.27.133.167.

PERMANENT IN.TUNCTION

Doe 18 - 174.27.133.167 upon notice through counsel is hereby PERMANENTLY
ENJO]NED from directly, contributorily or indirectly infringing Plaintiff’ s rights in its motion
pictures, including without limitation by using the internet to reproduce or copy any motion
picture owned or branded by MEZ Productions, lnc., to distribute any motion picture owned or
branded by MEZ Productions, Inc., or to make motion picture owned or branded by ME2
Productions, lnc. available for distribution to the public, except pursuant to a lawful written
license nom ME2 Productions, Inc.; and

Doe 18 - 174.27.133.167 upon notice through counsel is hereby directed to immediately

delete any and all unlicensed content of the Motion Picture Mechanic; Resurrection

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together with all other software Det`endant may have used to obtain media through the

lnternet by BitTorrent peer-to~peer transfer or exchange

SO OR_DERED, this day:

So Stipulated and Respectfully Submitted:

Doe 18 - 174.27.133.167:

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Counsel to Doe 18 - 174.27.133.167

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Magistrate Judge Evelyn J. Furse
UNITED STATES DISTRICT COURT

On Behalf of Plaintift`:

aaa

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